






Opinion issued December 19, 2008						 



	

  

	






In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00877-CR

____________


IN RE ANGEL SOLIZ, SR., Relator







Original Proceeding on Petition for Writ of Mandamus






MEMORANDUM  OPINION (1)


	Relator, Angel Soliz, Sr., has filed a petition for writ of mandamus,
complaining that the trial court denied his third pre-trial motion to reduce bond in
trial court cause number 1148672.  Relator requests that this Court order the trial
court judge (2)
 to conduct a hearing on his third motion for pretrial bond, grant a bond
in an amount that relator can make or in the alternative grant relator a personal
recognizance bond.

	After the petition was filed relator entered a guilty plea and was convicted in
cause number 1148672.  Because relator has been convicted of the underlying
offense, he is no longer subject to pre-trial confinement. (3)
   The pretrial writ is
therefore moot.  See Martinez v. State, 826 S.W.2d 620, 620 (Tex. Crim. App. 1992);
Hubbard v. State, 841 S.W.2d 33, 33 (Tex. App.--Houston [14th Dist.] 1992, no
pet.).

	The petition for writ of mandamus is denied as moot.  See In re Markowitz,
998 S.W.2d 417 (Tex. App.--Waco 1999, orig. proceeding).


PER CURIAM


Panel consists of Justices Taft, Keyes, and Alcala


Do not publish.  Tex. R. App. P. 47.2.(b).
1. Counsel for relator is Clay S. Conrad.
2. Respondent is the Honorable Joan Campbell, Judge, 248th District Court,
Harris County, Texas.

3. Harris County Justice Information System records reflect that on December 1,
2008, Angel Soliz, Sr. was convicted in cause number 1148672 and was
sentenced by the court to confinement for 30 years and assessed a fine of $10,
000.



